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12
                                 UNITED STATES DISTRICT COURT
13
                               NORTHERN DISTRICT OF CALIFORNIA
14                                     SAN JOSE DIVISION

15
                                                      No. 5:12-md-02314-EJD
16   IN RE: FACEBOOK, INC. INTERNET
     TRACKING LITIGATION                            SUPPLEMENTAL DECLARATION OF
17                                                  DAVID A. STRAITE IN SUPPORT OF
18                                                  PLAINTIFFS’ MOTION TO COMPEL
                                                    DISCOVERY AND TO COMPEL
19                                                  COMPLIANCE WITH PROTECTIVE
                                                    ORDER
20
                                                    F.R.C.P. 26(c) and 37(a)
21                                                  N.D. Cal. L.R. 37-1 and 37-2
22
                                                    Date:       April 28, 2016
23                                                  Time:       9:00 a.m.
                                                    Courtroom: 4
24                                                  Judge:      The Honorable Edward J. Davila
                                                    Trial Date: None Set
25
26
27
28

                       SUPPLEMENTAL DECLARATION OF DAVID A. STRAITE
                                   No. 5:12-md-02314-EJD
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 1                     SUPPLEMENTAL DECLARATION OF DAVID A. STRAITE
 2          I, David A. Straite, declare as follows:
 3          1.       I am an attorney admitted pro hac vice to practice before this Court in this matter. I am
 4   an attorney at the law firm of Kaplan Fox & Kilsheimer LLP, Interim Co-Lead Class Counsel in this
 5   class action against Defendant Facebook, Inc.
 6          2.      I submit this supplemental declaration in support of plaintiffs’ motion to compel (the
 7   “Motion”). The following statements are based on my personal knowledge and review of the files in
 8   this case and, if called on to do so, I could and would testify competently thereto.
 9          3.      Attached hereto as Exhibit 1 is a true and correct copy of a document produced by
10   defendant in this action and bearing bates number FB_MDL_00000251 on the first page.
11          4.      Attached hereto as Exhibit 2 is a true and copy of the 27-page production of documents I
12   received from Facebook counsel on April 5, 2016. The transmittal letter was dated April 4, 2016 and
13   the letter and the production were sent by Fedex overnight delivery.
14          5.      Attached hereto as Exhibit 3 is a true and correct copy of defendant’s Rule 26(a) initial
15   disclosures dated July 27, 2012 and signed by outside counsel Matthew D. Brown.
16          6.      Attached hereto as Exhibit 4 is a true and correct copy of a document produced by
17   plaintiffs bearing bates number FB_MDL2314_PLAINTIFF_00000035 on the first page.
18          7.      Attached hereto as Exhibit 5 is a true and correct copy of a document produced by
19   plaintiffs bearing bates number FB_MDL2314_PLAINTIFF_00000337 on the first page.
20          8.      Attached hereto as Exhibit 6 is a true and correct copy of a document produced by
21   plaintiffs bearing bates number FB_MDL2314_PLAINTIFF_00000113 on the first page.
22          I declare under penalty of perjury under the laws of the United States that the foregoing is true
23   and correct. Executed on this 6th day of April, 2016, at New York, NY.
24
25                                                 /s/ David Straite
26                                                  David A. Straite

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                         SUPPLEMENTAL DECLARATION OF DAVID A. STRAITE
                                     No. 5:12-md-02314-EJD
